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                           UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                    MONROE DIVISION


 JANA CHOWNS                                        CIVIL ACTION NO. 16-0685

 VERSUS                                             JUDGE ROBERT G. JAMES

 TRANSUNION, LLC, ET AL.                            MAG. JUDGE KAREN L. HAYES


                                         JUDGMENT

        Upon consideration,

        IT IS ORDERED, ADJUDGED, AND DECREED that the Joint Stipulation of Dismissal

 [Doc. No. 28] is GRANTED, and any and all claims and causes of action asserted by Plaintiff

 Jana Chowns against Defendant Experian Information Solutions, Inc. are DISMISSED WITH

 PREJUDICE, with each party to bear its own costs and attorneys’ fees.

        Monroe, Louisiana, this 23rd day of August, 2017.
